           Case 3:20-cv-00759-LL Document 13 Filed 10/19/20 PageID.378 Page 1 of 2



1
2
3
4
5
6
7
8                               UNITED STATES DISTRICT COURT
9                             SOUTHERN DISTRICT OF CALIFORNIA
10
11   JOSHUA O.,                                            Case No.: 20cv759-LL
12                                        Plaintiff,
                                                           ORDER GRANTING JOINT
13   v.                                                    MOTION FOR VOLUNTARY
                                                           REMAND PURSUANT TO
14   ANDREW SAUL, Commissioner of
                                                           SENTENCE FOUR OF 42 U.S.C. §
     Social Security,
15                                                         405(g)
                                        Defendant.
16
                                                           [ECF No. 12]
17
18            On October 15, 2020, the parties filed a joint motion for voluntary remand of the
19   above-entitled action pursuant to sentence four of 42 U.S.C. § 405(g) and to enter final
20   judgment in favor of Plaintiff. ECF No. 12. The parties request that the Court remand this
21   case back to the Social Security Administration for further proceedings. Id. at 2.
22   Specifically, the parties state the following:
23            Upon remand to the agency, the Appeals Council will remand this case to an
              Administrative Law Judge (ALJ) for a new decision. The Appeals Council
24
              will instruct the ALJ to make reasonable attempts to obtain evidence pertinent
25            to the case; reevaluate the medical opinions and prior administrative findings;
              and reevaluate Plaintiff’s subjective statements about symptoms. The Appeals
26
              Council will instruct the ALJ to take further action, as warranted, to complete
27            the administrative record and resolve the above issues.
28   Id.

                                                       1
                                                                                          20cv759-LL
       Case 3:20-cv-00759-LL Document 13 Filed 10/19/20 PageID.379 Page 2 of 2



1          Based on the parties’ joint motion, and for good cause shown, the Court GRANTS
2    the joint motion and REMANDS the above-entitled action to the Commissioner of Social
3    Security for further administrative proceedings consistent with the terms set forth in the
4    parties’ joint motion for voluntary remand. The Court DIRECTS the Clerk of Court to
5    enter final judgment in favor of Plaintiff and against Defendant, reversing the final decision
6    of the Commissioner.
7          IT IS SO ORDERED.
8    Dated: October 19, 2020
9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                                   2
                                                                                         20cv759-LL
